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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
 Case No.     CV 24-03221 PSG (RAOx)                                      Date   June 7, 2024
 Title        Aleksan Petrosyan v. Mercedes-Benz USA, LLC et al.




 Present: The Honorable      Philip S. Gutierrez, United States District Judge
                    Derek Davis                                           Not Reported
                    Deputy Clerk                                         Court Reporter
          Attorneys Present for Plaintiff(s):                  Attorneys Present for Defendant(s):
                     Not Present                                           Not Present
 Proceedings (In Chambers):         Order GRANTING Plaintiff’s motion to remand.

       Before the Court is Plaintiff Aleksan Petrosyan’s (“Plaintiff”) motion to remand this suit
to Los Angeles Superior Court. See generally Dkt. # 10 (“Mot.”). Pursuant to Local Rule 7-9,
Defendant Mercedes-Benz USA, LLC (“Defendant”) was required to oppose the motion by May
24, 2024, but Defendant failed to timely oppose. See Dkt. # 12. The Local Rules permit the
Court to treat Defendant’s late opposition as consent to granting Plaintiff’s motion—i.e., here,
remanding the case. See L.R. 7-12. The Court finds this matter appropriate for decision without
oral argument. See Fed. R. Civ. P. 78; L.R. 7-15. Because the motion is effectively unopposed,
the Court GRANTS Plaintiff’s motion to remand.

         IT IS SO ORDERED.




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